                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   DECATUR DIVISION

IN RE                                                 :
                                                      :
MICHAEL G. DOMBROWSKI,                                :        Case No. 16-81412-CRJ11
                                                      :        Chapter 11
                          DEBTOR.                     :        Judge CLIFTON R. JESSUP JR.
---------------------------------------------------------------------------------------------------------------------

U.S. BANK TRUST NATIONAL                              :
ASSOCIATION AS TRUSTEE                                :
OF CHALET SERIES III TRUST                            :
                MOVANT,                               :        CONTESTED MATTER
                                                      :
V.                                                    :
                                                      :
MICHAEL G. DOMBROWSKI,                                :
                                                      :
                         DEBTOR,                      :
                                                      :

         MOTION FOR RELIEF FROM AUTOMATIC STAY PURSUANT TO 11 U.S.C §
     362(a), OR IN THE ALTERNATIVE, MOTION FOR ADEQUATE PROTECTION

         COMES NOW U.S. Bank Trust National Association as Trustee of Chalet Series III

Trust (“Movant”), by and through its attorneys, and moves this Court for an order of relief from

the stay provided imposed by 11 U.S.C. Section 362 or in the alternative its request for adequate

protection. In support thereof, Movant states as follows:

1.       Debtor filed the above-styled case under the provisions of Chapter 11, Title 11, United

States Bankruptcy Code on May 11, 2016.

2.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. Section 1334, as

referred under 28 U.S.C. Section 157, and it constitutes a “core proceeding” within the meaning

of the latter statute. This Motion is made pursuant to Bankruptcy Rule 4001(a) and 9014.

3.       Movant holds a mortgage on the real property commonly known as 2564 Navarra Dr. #




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115, Carlsbad, CA 92009-7070 and more particularly described in the Mortgage referred to

below (the “Property”).

4.      Said Mortgage secures a Note in favor of Bank of America, N.A. in the original principal

amount of $161,130.00 dated November 20, 2012 (the “Note”), a copy of which is attached as

Exhibit A.

5.      The Property is subject to a first lien of Bank of America, N.A. by the Mortgage recorded

in San Diego County, California, a copy of which is attached as Exhibit B (the “Mortgage”).

6.      The Note and Mortgage were later transferred to Movant and Movant is the current holder

of the Note and Mortgage.

7.      In the event the automatic stay is modified, this case dismisses and/or the Debtor receives

a discharge and a foreclosure action is commenced on the property, the foreclosure will be

conducted in the name of U.S. Bank Trust National Association as Trustee of Chalet Series III

Trust, or its assignee.

8.      The approximate payoff, exclusive of legal fees and expenses incurred in the connection

with the instant motion, due and owed to Movant as of September 30, 2019 is $165,151.44

comprised of an Unpaid Principal Balance of $155,264.95, Interest of $8,256.69, Other fees of

$375.02, force-placed insurance premium(s) of $1,523.18 and Other fees of $337.46 and Suspense

Balance                                                                                    $268.40.

9.      According to Debtor’s Schedules, the value of the Property is $250,000.00.

10.     Pursuant to the terms of the plan confirmed August 30, 2017 (Doc. 569), Movant’s claim

was impaired and treated in Class 33-1 of the plan. Upon confirmation of the plan, the terms of

the Note were modified in accordance with the treatment of the plan. Accordingly, effective

October 1, 2017, the modified Unpaid Principal Balance became $157,332.56; the modified




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interest rate became 4.00%; the modified term of monthly payments was extended to 360; and the

modified monthly payment of principal and interest became $751.13.

11.     Debtor has defaulted in payment of the monthly mortgage payments and is due for the

months of July 1, 2018 through September 1, 2019, a total of fifteen(15) payments in the amount

of $751.13 each ($11,268.95); Debtor has a suspense balance of $268.40. The total amount in

default is $12,896.75.

12.     Pursuant to the confirmed plan, “[i]f the Creditor concludes that the Debtor is in default

under his plan, or concerning the payments to the Creditor, the Creditor will send notice of such

default to Debtor at his last known residence and a copy to his bankruptcy counsel of record.

Thereafter, the Debtor will have twenty-on (21) calendar days to cure the default from the date

this notice is sent.”

13.     Upon Debtor’s default, Movant sent Notice to Debtor as contemplated by the confirmed

plan, a copy of which is attached as Exhibit C (the “Notice of Default”).

14.     Debtor disputes the Notice of Default.

15.     The Debtor’s action has caused unreasonable delay that is prejudicial to Movant. Further,

Movant is not adequately protected.

16.     Movant wishes to protect its interests and proceed with taking possession of the Property.

17.     Movant has incurred additional expense in order to collect this post-petition Debtor in the

form of attorneys’ fees and costs, and requests that this Court award Movant reasonable

attorneys’ fees and court costs associated with this matter.

                         WAIVER OF FED. R. BANKR. P. 4001(a)(3)

18.     This is a chapter 11 bankruptcy case in which the Debtor knows, should know, or has

been informed by Debtor’s counsel of the rules of this Bankruptcy Court and the potential




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penalties for non-compliance. Therefore, Movant requests that this Court waive the fourteen day

stay in accordance with Bankruptcy Rule 4001(a)(3).

                                       ATTORNEY FEES

19.    Movant has had to incur additional expense in order to collect this post-petition debt in

the form of attorney fees and costs and requests the Court to award Movant reasonable attorney

fees and court costs associated with this matter.

       WHEREFORE, Movant respectfully requests that this Court grant the following relief:

       Enter an Order terminating or modifying the Automatic Stay imposed by 11 U.S.C.

§362(a) to allow Movant to institute and complete a foreclosure of the Property under its loan

documents and in accordance with applicable law;


       a.      That the Order be binding and effective despite any conversion of this bankruptcy

               case to a case under any other chapter of Title 11 of the United States Code;

       b.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived;

       c.      That Movant be exempted from further compliance with Fed. R. Bankr. P. 3002.1

               in the instant bankruptcy case;

       d.      In the alternative, and in the event the Court determines that the automatic stay

               should remain in full force and effect, enter an Order for adequate protection of

               Movant’s interest in the Property and to provide that the rights of Movant,

               pursuant to 11 U.S.C. §506(b), be fully protected;

       e.      In the alternative, and in the event the Court determines that the automatic stay

               should remain in full force and effect, enter an Order for adequate protection of

               Movant’s interest in the Property at the contractual payment amount of $1,133.78

               per month, pending confirmation.




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       f.     Award Movant its reasonable attorneys’ fees and expenses associated with this

              Motion, and the Trustee is hereby authorized to modify the plan as necessary to

              accommodate this claim; and

       g.     For such other relief as the Court deems proper.


This the 20th day of September, 2019.
                                                   Respectfully submitted,

                                                   /s/ Mark A. Baker
                                                   Mark A. Baker, ASB 2549-E57M
                                                   Attorneys for Movant
                                                   MCMICHAEL TAYLOR GRAY, LLC
                                                   3550 Engineering Drive, Suite 260
                                                   Atlanta, GA 30092
                                                   Telephone: (404) 474-7149
                                                   Facsimile: (404) 745-8121
                                                   E-mail: mbaker@mtglaw.com




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                                 CERTIFICATE OF SERVICE

        I, MARK A. BAKER, ESQUIRE, certify that I am and at all times hereinafter mentioned
was more than 18 years of age, that on September 20, 2019, I served a copy of the within Motion
for Relief from Stay filed in this bankruptcy matter on the respondent(s) in this matter by FIRST
CLASS MAIL and ELECTRONIC SERVICE the said respondent(s) at:

SERVICE LIST

VIA U.S. MAIL
Michael G. Dombrowski
200 Walker Avenue
Huntsville, AL 35801

20 Largest Creditors
*See attached Matrix

VIA CM/ECF
Tazewell Shepard, P.C.
PO BOX 19045
Huntsville, AL 35804

Tazewwell T. Shepard
Tazewell Shepard, Trustee
PO BOX 19045
Huntsville, AL 35804

Tazewell Taylor Shepard, IV
Sparkman, Shepard & Morris, P.C.
P.O. Box 19045
Huntsville, AL 35804

I certify under penalty of perjury that the foregoing is true and correct.

Executed on: September 20, 2019                        s/ Mark A. Baker_______________
                                                       Mark A. Baker, Esquire
MCMICHAEL TAYLOR GRAY, LLC
3550 Engineering Drive
Suite 260
Peachtree Corners, GA 30092




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                      EXHIBIT A




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     EXHIBIT C




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                  3550 Engineering Drive|Suite 260|Peachtree Corners, GA 30092
                            Office: 404-474-7149|Fax: 404-745-8121

                                          May 21, 2019


Michael G. Dombrowski
200 Walker Avenue
Huntsville, AL 35801

Tazewell Shepard
Tazewell Shepard, P.C.
Sparkman, Shepard & Morris, P.C.
PO Box 19045
Huntsville, AL 35804

RE:    Michael G. Dombrowski, Chapter 11 Case No. 16-81412-CRJ11
       Subject Property: 2564 Navarra Drive, Unit 115, Carlsbad, CA 92009
       NOTICE OF DEFAULT UNDER ORDER CONFIRMING DEBTOR’S CHAPTER
              11 PLAN OF REORGANIZATION ENTERED September 5, 2017
       DATE OF ISSUANCE OF NOTICE:            May 21, 2019

Dear Mr. Dombrowski and Mr. Shepard:

We represent U.S. BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE OF CHALET
SERIES III TRUST successor in interest to FEDERAL NATIONAL MORTGAGE
ASSOCIATION (“Creditor”). Please be advised that the Debtor is in default under the terms of
the ORDER CONFIRMING DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION
entered September 5, 2017 (the “Order”), in that the Debtor has failed to make the post-petition
payments required under the Order for the months of July 1, 2018, through March 1, 2019, a
total of $8,837.50, comprised as follows: eleven (11) payments of $751.13 each ($8,262.43), late
charges in the amount of $150.24, taxes/PMI/insurance in the amount of $744.38, less unapplied
funds of $318.95, and less interest on escrow in the amount of $0.60. A copy of the Order is
attached for your information.

Pursuant to the Order, you have twenty-one (21) days from the date of this Notice by which to
cure the default by payment of $8,837.50. If you fail to cure the default within the time provided,
the automatic stay provided by 11 U.S.C. Section 362(a) will be deemed lifted without further
Order from the Court, and Creditor shall thereafter shall be free to enforce any and all of its




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respective rights, title and interest in and to the aforementioned property, including, but not
limited to, foreclosure, in accordance with the provisions of the note and mortgage and the laws
of the State of Alabama.

       GOVERN YOURSELF ACCORDINGLY.

                                                    Very truly yours,
                                                    /s/ Mark A. Baker____
                                                    Mark A. Baker
MAB/wp
Enclosure




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